       Case 1:25-cv-00091-LM           Document 34-58         Filed 03/21/25      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 NATIONAL EDUCATIONAL
 ASSOCIATION, et al.,

              Plaintiffs,

 v.                                                   Case No. 1:25-cv-00091-LM

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

              Defendants.


                         [PROPOSED] ORDER GRANTING
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        After careful consideration of the parties’ submissions, the supporting declarations, and the

applicable law, the Court GRANTS Plaintiffs’ Motion for Preliminary Injunction.

        The Court hereby finds that the Plaintiffs have a demonstrated the following: a likelihood

of success on the merits of their claims; that the Plaintiffs are likely to suffer irreparable harm if

an injunction is not granted; that the potential harm to the Plaintiffs if an injunction is not granted

outweighs the potential harm to the Defendants if an injunction is granted; and that the issuance

of an injunction is in the public interest.

        Pursuant to Federal Rule of Civil Procedure 65(a) and Section 705 of the Administrative

Procedure Act, 5 U.S.C. § 705, this Court ORDERS as follows:

        Defendants United States Department of Education; Linda M. McMahon, in her official

capacity as Secretary of the Department of Education; Craig Trainor, in his official capacity as

Acting Assistant Secretary for Civil Rights, Department of Education; and their agents, employees,

representatives, successors, and any other person acting directly or indirectly in concert with them,

are preliminary enjoined from enforcing and/or implementing the Dear Colleague Letter issued on
      Case 1:25-cv-00091-LM           Document 34-58           Filed 03/21/25   Page 2 of 2




February 14, 2025, including through the February 28, 2025 “Frequently Asked Questions About

Racial Preferences and Stereotypes Under Title VI of the Civil Rights Act,” and the End DEI

Portal, pending the resolution of this action on its merits.

       The Court further waives the requirement for security under Fed. R. Civ. P. 65(c).

       This preliminary injunction shall take effect immediately upon entry of this Order and shall

remain in effect until the entry of judgment in this matter or by order of the Court.



SO ORDERED this ____day of 2025,

                                                       ____________________________
                                                       Landya B. McCafferty
                                                       Chief United States District Court Judge
